                              UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NORTH CAROLINA
                                    EASTERN DIVISION


KYLE GREEN,                                                )
                                                           )
                         Plaintiff,                        )
                                                           )       JUDGMENT IN A CIVIL CASE
        v.                                                 )
                                                           )       CASE NO. 4:20-CV-80-D
KILOLO KIJAKAZI, Acting Commissioner of                    )
Social Security,                                           )
                 Defendant.                                )


Decision by Court.
This action came before this Court for ruling as follows.

IT IS ORDERED, ADJUDGED, AND DECREED that Defendant pay to Plaintiff $4,777.00 in
attorney's fees, in full satisfaction of any and all claims arising under the Equal Access to Justice Act, 28
U.S.C. § 2412. If the award to Plaintiff is not subject to the Treasury Offset Program, payment will be
made by check payable to Plaintiff’s counsel, Derrick Arrowood, and mailed to his office at P.O. Box
58129, Raleigh, NC 27658, in accordance with Plaintiff’s assignment to her attorney of her right to
payment of attorney's fees under the Equal Access to Justice Act.


This Judgment Filed and Entered on September 22, 2021, and Copies To:
Derrick Kyle Arrowood                                              (via CM/ECF electronic notification)
Cassia W. Parson                                                   (via CM/ECF electronic notification)
Keeya M. Jeffrey                                                   (via CM/ECF electronic notification)
Wanda D. Mason                                                     (via CM/ECF electronic notification)




DATE:                                             PETER A. MOORE, JR., CLERK
September 22, 2021                                (By) /s/ Nicole Sellers
                                                   Deputy Clerk




             Case 4:20-cv-00080-D Document 33 Filed 09/22/21 Page 1 of 1
